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 8 Counsel for Plaintiff
 9
10                        UNITED STATES DISTRICT COURT
11                     NORTHERN DISTRICT OF CALIFORNIA
12
   GOR GEVORKYAN on behalf of                   Case No.
13 himself and all others similarly situated,
                                                CLASS ACTION
14                          Plaintiff,COMPLAINT
15         v.                         1. Violation of the Unfair Prong of
16                                       the Unfair Competition Law
     BITMAIN, INC., BITMAIN           2. Unjust Enrichment
17   TECHNOLOGIES, LTD. and DOES 1 to 3. Conversion
     10,
18                                    JURY TRIAL DEMANDED
19                      Defendants.

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     CLASS ACTION COMPLAINT
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 1         Plaintiff Gor Gevorkyan and all others similarly situated (“Plaintiff”) allege
 2   the following:
 3                                  NATURE OF ACTION
 4
           1.     This is a prospective class action against Bitmain, Inc. and its parent
 5
     company Bitmain Technologies, Ltd. (collectively “Bitmain” or “Defendant”) in
 6
     connection with the marketing and sale of its crypto currency mining devices known
 7
     as Application Specific Integrated Circuits (“ASIC devices” and the “Products”). As
 8
     alleged herein, until the complicated and time-consuming initialization procedures
 9
     are completed, Bitmain’s ASIC devices are preconfigured to use its customers’
10
     electricity to generate crypto currency for the benefit of Bitmain rather than its
11
     customers.
12

13         2.     In the past, Bitmain ASIC devices could be configured and initialized in

14   low-power mode that did not mine crypto currency for Bitmain. However, after

15   Bitmain established itself as one of the world’s largest crypto currency miners in the

16   last several years, Defendant redesigned its ASIC devices to mine crypto currency

17   for the benefit of itself rather than its customers who purchase the Products.

18   Conveniently, Bitmain cashes in on every second it takes to get the ASIC configured

19   with the customers’ specifications and lays the substantial costs of operating the

20   ASIC devices at the feet of its customers.

21         3.     Defendant has engaged in an unfair business practice, has been unjustly
22   enriched and has converted the use of its customers’ ASIC devices and electricity.
23         4.     As a result of Defendant’s scheme, Plaintiff and the class members were
24   injured in fact and suffered ascertainable and out-of-pocket losses.
25                                      THE PARTIES
26
           5.     Plaintiff Gor Gevorkyan is a resident of Los Angeles County,
27
     California. He purchased Bitmain ASIC devices, including the AntMiner S9 for the
28

     CLASS ACTION COMPLAINT                                                                 1
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 1   purpose of mining crypto currency for his personal financial benefit in approximately
 2   January 2018. The Product was difficult to configure. It took him a substantial
 3   amount of time to properly configure the ASIC devices. During this time, the ASIC
 4   devices were pre-configured to mine and deliver crypto currency to Defendant. Also
 5   during this time, the ASIC devices operated at full power mode, consuming a
 6   substantial amount of electricity at Plaintiffs’ expense. The ASIC devices were
 7   mining crypto currency from the moment Plaintiff started the device and it would
 8   transfer any electronic crypto currency mined to Defendant. This continued until the
 9   ASIC devices were associated with Plaintiff’s personal crypto currency account.
10         6.     Defendant Bitmain, Inc. is a Delaware corporation with its principal
11   place of business at 251 High Street, Suite B, Palo Alto, California 94301.
12         7.     Defendant Bitmain Technologies, Ltd. is a Chinese corporation with its
13   principal place of business in Beijing, China.
14
                               JURISDICTION AND VENUE
15
           8.     The Court has jurisdiction over this action pursuant to 28 U.S.C. §
16
     1332(d) because there are more than 100 Class Members and the aggregate amount
17
     in controversy exceeds $5,000,000.00, exclusive of interest, fees, and costs.
18
           9.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because
19
     Defendant Bitmain, Inc. maintains its principal place of business in Santa Clara
20
     County.
21
                                 FACTUAL ALLEGATIONS
22
     A.    Crypto Currency
23
           10.    Crypto currency is a form of digital currency using cryptography to
24
     secure electronic transactions and to control the creation of new virtual currency
25
     units. Popular forms of crypto currency include Bitcoin, Bitcoin Cash, Peercoin and
26
     Unobtanium.
27

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     CLASS ACTION COMPLAINT                                                               2
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 1         11.   Bitcoin is by far the most popular form of crypto currency created as a
 2   new worldwide payment system in 2009. In the last several years, Bitcoin has
 3   become a preferred currency for many consumers and is accepted as a form of
 4   payment by many online retailers and service providers.
 5         12.   Though crypto currency is a form of “virtual currency,” the value of a
 6   crypto currency is very real. Bitcoin for example trades in currency markets at a rate
 7   of 1 Bitcoin to approximately $6,345.16 (last updated November 13, 2018).
 8         13.   The market for crypto currencies is known to be extremely volatile and
 9   subject to manipulation by large players in the market. For example, Defendant has
10   admitted to engaging in a practice of destroying or “burning” virtual currency for the
11   purpose of reducing the supply of the currency and raising its value. See
12   https://www.ccn.com/bitmain-will-burn-12-of-bitcoin-cash-tx-fees-calls-on-other-
13   miners-to-follow-suit/ (“By reducing the total supply of Bitcoin Cash in circulation,
14   Bitmain believes that it can reduce sell pressure on the coin, ultimately making it
15   more valuable.”).
16         14.   New crypto currency is created as a reward for a process known as
17   mining. People compete to “mine” virtual currencies using computing power to solve
18   complex math puzzle. These solutions are then used to encrypt and secure the crypto
19   currency. The computers or pools of computers which are the first to solve these
20   puzzles are rewarded with new crypto currency.
21         15.   Once earned, virtual currency is stored in a digital wallet associated
22   with the computing device that solved the puzzle.
23         16.   Virtual currency mining is a passive process. These math puzzles are
24   solved by computers using computer power. They do not require any calculations by
25   the person mining the currency. As competition to create more virtual currency has
26   increased, the mathematical puzzles have become more complex, making virtual
27   currency more difficult to obtain. Computers that were once capable of efficiently
28   mining Bitcoin could now take centuries to obtain the same results.
     CLASS ACTION COMPLAINT                                                            3
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 1         17.     A mining pool is the pooling of resources by virtual currency miners,
 2   who share their processing power over a network, to split the reward equally,
 3   according to the amount of work they contributed to the probability of solving the
 4   puzzles. Mining in pools developed in response to the massive increase in difficulty
 5   of virtual currency mining.
 6         18.     As interest in virtual currency mining has increased in recent years, so
 7   did the technology used to mine the currency. Initially, virtual currency was
 8   primarily mined by personal computers without any additional hardware. Later,
 9   video graphics cards were found to solve these math puzzles more quickly. Finally,
10   dedicated mining devices called ASICs became the standard device for virtual
11   mining.
12         19.     ASIC devices can perform billions of calculations per second to try and
13   crack the cryptographic puzzle that yields new Bitcoins.
14         20.     ASIC devices consume so much electricity that their value to the
15   customer is dependent in large part on the customer’s local electricity costs. Indeed,
16   it may take months or years to earn back the cost of purchasing and operating an
17   ASIC device in virtual currency depending on the users’ local electrical costs.
18         21.     As competition and the technology to mine virtual currency improves,
19   the costing of minting new virtual currency increases tremendously. It has been
20   reported that the cost to mine virtual currency increased tenfold between 2016 and
21   2017 alone.
22   B.    Bitmain ASIC Devices
23         22.     Founded in 2013, Bitmain markets and sells ASIC devices
24   internationally. Far and away, Bitmain dominates the ASIC device industry.
25         23.     Bitmain is also the largest single miner of virtual currency in the world.
26   Bitmain operates Antpool, the largest Bitcoin mining pool in the world. Defendant is
27   also the largest competitor to each of its ASIC device customers because it maintains
28   its own virtual currency mining accounts.
     CLASS ACTION COMPLAINT                                                              4
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 1         24.    Bitmain operates virtual currency mining “farms” in locations where
 2   electricity costs are extremely low, including Russia and Inner Mongolia. Bitmain
 3   operates more than100,000 ASIC devices on these farms.
 4

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14
             Photo of Bitmain Inner Mongolia Virtual Currency Farm.
15           Reportedly operating 25,000 ASIC devices mining Bitcoin and
             other virtual currencies around the clock every day.
16         25.
17         26.    Analysts estimate that Bitmain made $3 - $4 billion in operating profits
18   in 2017.
19         27.    Defendant markets and sells a number of ASIC devices that work using
20   the same or similar interface and setup procedures.
21   At any given time, the devices range in price based
22   on the speed with which they can perform
23   calculations. Moreover, because the value of an
24   ASIC device is so closely linked to its ability to
25   generate virtual currency through sheer processing Bitmain Bitcoin Mining Device
26   power, Bitmain varies the price of its ASIC AntMiner S9
27   devices based on the current trading price of Bitcoin, a leading form of crypto
28   currency.

     CLASS ACTION COMPLAINT                                                             5
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 1         28.    Compared to other computer components, ASIC devices consume an
 2   enormous amount of energy when operating at full speed. For example, the
 3   AntMiner S9 pictured above is rated at 1375 watts of power, while a standard light
 4   bulb is rated at only 60 to 100 watts. Because of these extremely high operating
 5   costs, it is necessary to consider operating costs and local electricity prices in
 6   determining the value of an ASIC device.
 7         29.    Bitmain ASIC devices can often take an extremely long time to initiate.
 8   The initialization process can take many hours and up to several days to complete.
 9         30.    Defendant uses its customers’ ASIC devices and customers’ electrical
10   power sources to enrich itself at the expenses of its customers.
11         31.    Until approximately two years ago, Bitmain ASIC devices started in
12   low power mode, while the customer linked the device to her virtual currency
13   account. Only after the setup process was complete, would the devices fully power
14   up and channel incoming virtual currency to the owner’s virtual currency account.
15   While the custumer was initiating the setup procedures, the ASIC devices were not
16   mining virtual currency for anyone and were not consuming large amounts of
17   electricity. There was no default account setting to which virtual currency mined
18   during the setup process was directed and transferred.
19         32.    Recently, Bitmain modified the startup procedure for its ASIC devices
20   such that the devices immediately start in full power high energy consumption mode
21   before the customers’ account is linked to the device and stay in that mode until the
22   setup process is complete. Moreover, the default account setting on the Bitmain
23   ASIC devices is set to contribute to Bitmain’s own account on its own Antpool
24   server. As a result of this new practice, Bitmain ASIC devices cost more to operate
25   during the setup phase and transfer virtual currency to Defendant rather than the
26   customers.
27

28

     CLASS ACTION COMPLAINT                                                               6
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 1                            CLASS ACTION ALLEGATIONS
 2         33.     Plaintiff brings this action as a class action under Federal Rule of Civil
 3   Procedure 23 on behalf of a Class consisting of all persons in the United States who,
 4   within the relevant statute of limitations period, purchased Bitmain ASIC devices.
 5         34.     Plaintiff also seeks to represent a subclass defined as all members of the
 6   Class who purchased Bitmain ASIC devices in California (“the California
 7   Subclass”).
 8         35.     The Class is so numerous that joinder of all members is impractical. On
 9   information and belief, the Class includes more than one hundred thousand members.
10         36.     The Class is ascertainable because the Class Members can be identified
11   by objective criteria – the purchase of Bitmain ASIC mining devices during the Class
12   Period. Individual notice can be provided to Class Members “who can be identified
13   through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B).
14         37.     There are numerous questions of law and fact common to the Class
15   which predominate over individual actions or issues, including but not limited to:
16                 (a)   Whether Defendant engaged in an unfair business practice;
17                 (b)   Whether Defendant was unjustly enriched by its conduct;
18                 (c)   Whether Defendant converted the use of ASIC devices to its own
19                       ends;
20                 (d)   Whether Class Members suffered an ascertainable loss as a result
21                       of Defendant’s misrepresentations; and
22                 (e)   Whether, as a result of Defendant’s misconduct as alleged herein,
23                       Plaintiff and the Class Members are entitled to restitution,
24                       injunctive, monetary relief and/or costs and attorneys’ fees, and if
25                       so, the amount and nature of such relief.
26         38.     Plaintiff’s claims are typical of the claims of the members of the Class
27   as all members of the Class are similarly affected by Defendant’s wrongful conduct.
28   Plaintiff has no interests antagonistic to the interests of the other members of the
     CLASS ACTION COMPLAINT                                                                 7
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 1   Class. Plaintiff and all members of the Class have sustained economic injury arising
 2   out of Defendant’s violations of common and statutory law as alleged herein.
 3         39.     Plaintiff is an adequate representative of the Class because his interests
 4   do not conflict with the interests of the Class Members he seeks to represent, he has
 5   retained counsel competent and experienced in prosecuting class actions, and he
 6   intends to prosecute this action vigorously. The interests of the Class Members will
 7   be fairly and adequately protected by Plaintiff and his counsel.
 8         40.     The class mechanism is superior to other available means for the fair
 9   and efficient adjudication of the claims of Plaintiff and the Class Members.
10

11                                    First Cause of Action
12            Violation of the “Unfair Prong” of the Unfair Competition Law
13                        By California Class Against All Defendants
14         41.     Plaintiff repeats the allegations contained in the paragraphs above as if
15   fully set forth herein.
16         42.     Plaintiff brings this Count on behalf of the California Subclass.
17         43.     The UCL, Bus. & Prof. Code § 17200 et seq., provides, in pertinent
18   part: “Unfair competition shall mean and include unlawful, unfair or fraudulent
19   business practices and unfair, deceptive, untrue or misleading advertising ….”
20         44.     Defendant violated the “unfair” prong of the UCL in that their conduct
21   is substantially injurious to customers, offends public policy, and is immoral,
22   unethical, oppressive, and unscrupulous, as the gravity of the conduct outweighs any
23   alleged benefits. Defendant’s conduct is unfair in that the harm to Plaintiff and the
24   Class arising from Defendant’s conduct outweighs the utility, if any, of those
25   practices.
26         45.     Defendant’s practices as described herein are of no benefit to consumers
27   who are tricked into mining virtual currency for the benefit of Bitmain instead of
28   themselves.
     CLASS ACTION COMPLAINT                                                                  8
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 1         46.    As a direct and proximate result of these acts, Bitmain’s customers have
 2   been and are being harmed. Plaintiff and members of the Class have suffered injury
 3   and actual out-of-pocket losses as a result of Defendant’s UCL “unfair prong”
 4   violation because Bitmain used its customers’ ASIC devices and required them to
 5   incur operating expenses while mining virtual currency not for their own benefit, but
 6   for the benefit of Bitmain.
 7         47.    Pursuant to Bus. & Prof. Code §17203, Plaintiff, and the California
 8   Class are therefore entitled to: (a) an order requiring Defendant to cease the acts of
 9   unfair competition alleged herein; (b) full restitution of all expenses incurred as a
10   result of Bitmain’s unfair and deceptive practices; (c) interest at the highest rate
11   allowable by law; and (d) the payment of Plaintiff’s attorneys’ fees and costs
12   pursuant to, inter alia, California Code of Civil Procedure §1021.5.
13

14                                  Second Cause of Action
15                                     Unjust Enrichment
16                                   Against All Defendants
17         48.    Plaintiff repeats and realleges the foregoing paragraphs.
18         49.    Plaintiff brings this claim on behalf of the class against all Defendants.
19   Defendant has been unjustly enrichment by the conduct described above.
20         50.    Unjust enrichment requires the receipt of a benefit and unjust retention
21   of the benefit at the expense of another.
22         51.    Defendant received the benefit of class members computer power while
23   the operating expenses, including electricity fell on Class members rather than
24   Defendant.
25         52.    Defendant should be required to disgorge all monies, profits and gains
26   which it has obtained and will unjustly obtain at the expense of Plaintiff and the
27   Class and reimburse Plaintiff and the class for the operating expenses of their ASIC
28

     CLASS ACTION COMPLAINT                                                                  9
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 1   devices during the time in which Defendant received benefits from Class members’
 2   ASIC devices.
 3                                   Third Cause of Action
 4                                         Conversion
 5                                   Against All Defendants
 6         53.    Plaintiff repeats and realleges the foregoing paragraphs.
 7         54.    Plaintiff brings this claim on behalf of the class against all Defendants.
 8   Defendant has converted the use of Plaintiff’s and Class members’ ASIC Devices.
 9         55.    Defendant should be required to disgorge all monies, profits and against
10   which it has obtained from the conversion and reimburse Plaintiff and other Class
11   members for the operating expenses of their ASIC devices during the time in which
12   Defendant received benefits from Class members.
13

14         WHEREFORE, Plaintiff prays for relief and judgment, as follows:
15         A.     Determining that this action is a proper class action;
16         B.     For an order declaring that the Defendant’s conduct violates the statutes
17   and common law claims referenced herein;
18         C.     Awarding restitution, compensatory damages and/or disgorgement in
19   favor of Plaintiff, members of the Class, and the California Class against Defendant
20   for all harm suffered as a result of Defendant’s wrongdoing, in an amount to be
21   proven at trial, including interest thereon;
22         D.      Awarding injunctive relief against Defendant to prevent Defendant
23   from continuing their ongoing unfair, unconscionable, and/or deceptive acts and
24   practices;
25         E.     For an order of restitution and/or disgorgement and all other forms of
26   equitable monetary relief;
27         F.     Awarding Plaintiff and members the Class their reasonable costs and
28   expenses incurred in this action, including counsel fees and expert fees; and
     CLASS ACTION COMPLAINT                                                             10
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 1         G.    Awarding such other and further relief as the Court may deem just and
 2   proper.
 3                                     JURY DEMAND
 4         Plaintiff hereby demands a trial by jury on all claims so triable in this action.
 5

 6   Dated: November 19, 2018               FRONTIER LAW CENTER
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     CLASS ACTION COMPLAINT                                                               11
